Exhibit 1
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                     LightHouse et al. v. ADP, Inc. et al., No. 4:20-cv-09020-HSG (N.D. Cal.)

                                               SETTLEMENT AGREEMENT

            I.      PARTIES

                    The Parties to this Settlement Agreement (“Agreement”) and the related and incorporated
            document entitled Confidential Addendum to Settlement Agreement are: (i) ADP TotalSource,
            Inc. (“ADP TotalSource” or “ADP”); and (ii) the LightHouse for the Blind and Visually
            Impaired of San Francisco (“LightHouse”), Erin Lauridsen, and Frank Welte (collectively,
            “Plaintiffs”), represented by Disability Rights Advocates (“Plaintiffs’ Counsel”). This
            Agreement is deemed effective as of the date of the last signature on the Agreement (“Effective
            Date”).

            II.     RECITALS

                  As of the Effective Date, LightHouse contracts with ADP TotalSource for use of the
            Workforce Now (“WFN”) human resources and payroll product.

                   On September 17, 2020, Plaintiffs filed a Complaint against ADP, Inc. and ADP
            TotalSource, Inc. (collectively “Defendants”) in the Superior Court of the State of California for
            the County of San Francisco, Case No. CGC-20-586626, in which Plaintiffs allege that
            Defendants are violating the rights of LightHouse and its blind and visually impaired employees
            under the California Unruh Civil Rights Act, Cal. Civil Code § 51; California Civil Code § 51.5;
            and the Unfair Competition Law, California Business & Professions Code §§ 17200 et seq (“the
            Claims”).

                    On December 16, 2020, Defendants removed the case to the United States District Court
            for the Northern District of California, where it was assigned Case No. 4:20-cv-09020-HSG, on
            the basis of diversity jurisdiction.

                    On January 27, 2021, ADP TotalSource and Plaintiffs (collectively “the Parties”) entered
            into a Structured Negotiations Agreement to provide a framework for the negotiations that have
            resulted in this Agreement. The Parties sought, and the Court granted, a stay of litigation
            pending outcome of the Structured Negotiations.

                    The Parties have determined that it is in their mutual best interests to resolve all potential
            claims and disputes between them relating to the Claims, as well as any other claims that could
            have been brought in the Complaint based on the same underlying facts, and enter into the terms
            of this Settlement Agreement as set forth below and in the Confidential Addendum to Settlement
            Agreement executed with this Agreement.

            III.    DEFINITIONS

                    “Accessible” (or “Accessibility” or “Access”) means that blind and low vision
            individuals have independent access to the same information and equivalent ease of use of
            functionalities available to sighted individuals via the Website or Mobile Apps. For the purpose
            of this Agreement, “overlay” solutions such as those currently provided by companies such as
            AudioEye and AccessiBe will not suffice to achieve Accessibility.
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                   “Mobile Apps” means the most recently released version of the ADP Mobile Solutions
            application provided on iOS 1 and Android 2 mobile devices through which LightHouse
            employees may access ADP TotalSource’s products for which it contracts with ADP
            TotalSource that are available as of the Effective Date and any versions thereof that may become
            available during the Term.

                    “Screen Reader(s)” refers to software that enables individuals who have vision loss to
            operate computers, smart phones, TVs, and other devices by converting the text displayed
            graphically on the screen into audible, synthesized speech or outputting that information on a
            digital braille display.

                    “Term” means the term of the Agreement as provided in Section X.A.

                   “WCAG 2.1” means the World Wide Web Consortium’s Web Content Accessibility
            Guidelines version 2.1, Level AA criteria.

                    “Web Accessibility Expert” means a mutually agreeable third-party consultant with
            expertise in Accessible web and mobile development and WCAG 2.1 who is retained by ADP
            for the purpose of accomplishing the requirements of Sections IV and V.A. As of the Effective
            Date, ADP has retained Deque as the Web Accessibility Expert. Should the need arise to hire a
            different Web Accessibility Expert during the Term of the Agreement, ADP shall consult with
            Plaintiffs regarding proposed vendors to take over this role prior to engaging a new Web
            Accessibility Expert.

                    “Website” means any portions of the ADP-owned and -controlled website through which
            LightHouse employees may access ADP’s WFN product as of the Effective Date or during the
            Term of the Agreement. As of the Effective Date, the Website is available at
            https://workforcenow.adp.com/.

            IV.     ACCESSIBILITY IMPROVEMENTS

                   ADP will engage the Web Accessibility Expert to identify Accessibility barriers
            throughout the Website and Mobile Apps.

                   ADP will remediate those Accessibility barriers identified by the Web Accessibility
            Expert and ensure that the Website and Mobile Apps substantially conform to WCAG 2.1 within
            two (2) years after the Effective Date, and will achieve the following milestones:




            1
              As of the Effective Date, the iOS version of the Mobile App is available for download at
              https://apps.apple.com/us/app/adp-mobile-solutions/id444553167.
            2
              As of the Effective Date, the Android version of the Mobile App is available for download at
              https://play.google.com/store/apps/details?id=com.adpmobile.android.


            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 2 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




                     Feature/Function 3                  Milestone Deadline for          Milestone Deadline for
                                                         Website Substantial             Mobile App Substantial
                                                         Conformance                     Conformance
                     Login                               6 months                        6 months
                     Dashboard and Navigation            6 months                        6 months
                     Profile Screens                     6 months                        6 months
                     Time-off Screens (e.g.              6 months                        6 months
                     Viewing Balance,
                     Requesting & Approving)
                     Employee Clock In/Out               6 months                        6 months
                     Pay Screens/Statements              6 months                        6 months
                     Inbox/Messages                      9 months                        6 months
                     Settings                            9 months                        6 months
                     Benefit Enrollment                  March 31, 2022                  March 31, 2022
                     Talent Screens                      9 months                        N/A
                     Documents                           12 months                       N/A
                     Total Compensation                  12 months                       N/A
                     Forms Library                       12 months                       N/A

                  The obligations in this Section IV will be considered met when substantial conformance
            to WCAG 2.1 Level AA is confirmed in writing to ADP TotalSource and Plaintiffs’ Counsel by
            the Web Accessibility Expert.

            V.         POLICIES AND PROCEDURES

                       A.      Website and Mobile App Accessibility Policy.

                    Within three (3) months of the Effective Date, ADP TotalSource will engage the Web
            Accessibility Expert to assist in the preparation of a Website and Mobile App Accessibility-
            related policy and/or procedure, or to review and provide recommendations for its current
            website Accessibility-related policy and/or procedure so that the policy and/or procedure
            contains information regarding ADP TotalSource’s development and testing processes, including
            procedures for manual testing, for fixing Accessibility barriers prior to release of updates, and for
            addressing Accessibility-related bugs discovered post-release in a manner consistent with non-
            Accessibility-related bugs of the same functional severity. These recommendations, and/or draft
            of the policy and/or procedure with the recommendations included, will be made in writing and
            provided to Plaintiffs.

                 Within one (1) month after receiving the Web Accessibility Expert’s recommendations,
            ADP TotalSource will adopt the Website and Mobile App Accessibility Policy and/or Procedure,




            3
                The features and functions set out in this table shall not be considered an exhaustive list of those features
                and functions that must substantially conform with WCAG 2.1.

            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 3 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




            which incorporates the Web Accessibility Expert’s recommendations. The Website and Mobile
            App Accessibility Policy and/or Procedure will be provided to Plaintiffs prior to implementation.

                    B.      Customer Service Training.

                    ADP TotalSource will provide training to ADP TotalSource employees and agents who
            provide user-side customer service to LightHouse on how to provide assistance to individuals
            who use screen readers. This training shall encompass best practices when interacting with
            people with disabilities and specific instruction on providing technical assistance to screen reader
            users with respect to ADP TotalSource products and/or escalating to the appropriate subject
            matter experts. Within six (6) months after the Effective Date, and prior to implementation,
            ADP TotalSource will provide Plaintiffs its proposed training materials for review. Plaintiffs
            may provide feedback on the training materials within two (2) weeks of receipt, which ADP will
            consider in good faith and implement to the extent reasonable. ADP TotalSource will provide
            Plaintiffs with a copy of the final training materials.

            VI.     MONITORING

                    A.      Teleconferences.

                    Starting three (3) months after the Effective Date and continuing through the Term of the
            Agreement, every three (3) months ADP TotalSource will provide LightHouse with an update
            regarding progress on the Accessibility improvements, policies, and procedures required by
            Sections IV and V of this Agreement. This meeting will be by teleconference between the
            Parties unless, in advance of a teleconference, ADP TotalSource provides a written update which
            LightHouse agrees is sufficient in lieu of a teleconference.

                   In addition, at any time during the Term of the Agreement, any Party may request a
            teleconference to discuss any matter within the scope of the Agreement. The Parties will
            schedule the teleconference to occur within two (2) weeks of the request. The Parties will
            respond in good faith and within a reasonable period of time to reasonable concerns and
            questions addressed in the teleconferences.

                    B.      Reports.

                    Should ADP TotalSource determine that it is not possible to meet one of the deadlines set
            forth in Section IV, it will provide written notice to Plaintiffs at least one (1) month prior to the
            stated deadline explaining why it is infeasible to meet the deadline, the steps that have been
            taken in an effort to meet the deadline, and the expected completion date. This notice may be
            provided via letter or email so long as the notice includes all information listed in this Section
            VI.B. Should Plaintiffs not be satisfied with ADP TotalSource’s expected completion date,
            Plaintiffs may proceed to the Dispute Resolution process outlined in Section VII.

            VII.    DISPUTE RESOLUTION

                   The Parties agree that Judge Haywood S. Gilliam, Jr. of the U.S. District Court for the
            Northern District of California shall maintain jurisdiction of this case for enforcement purposes

            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 4 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




            for the term of this Agreement, including the resolution of any disputes that arise under this
            Agreement. Should Judge Gilliam become unavailable, the Parties agree to accept the
            jurisdiction of any other Judge assigned by the Federal District Court for the Northern District of
            California for continuing jurisdiction purposes. Any disputes under this Agreement shall be
            resolved according to the following procedure:

                    A.      Notification in Writing.

                    If a Party believes that any other Party has not complied with any provision of the
            Agreement or Confidential Addendum, that Party shall provide the other Party with a Notice
            containing the following information: (i) the alleged act of non-compliance; (ii) a reference to the
            specific provision(s) of this Agreement or Confidential Addendum that are involved; (iii) a
            statement of the remedial action sought by the initiating Party; and (iv) a brief statement of the
            specific facts, circumstances and legal argument supporting the position of the initiating Party.

                    B.      Response.

                   Within thirty (30) days of receipt of a Notice provided pursuant to Section VII.A, the
            non-initiating Party shall respond to the initiating Party in writing.

                    C.      Meet and Confer.

                   Within two weeks after the response described in Section VII.B, the Parties shall
            informally meet and confer and attempt to resolve the issues raised in the Notice.

                    D.      Submission to Mediation.

                    If the matters raised in a Notice provided pursuant to Section VII.A are not resolved
            within forty-five (45) days of the initial meet and confer required by Section VII.C, either Party
            may submit the unresolved matters to nonbinding mediation before a mutually agreed upon
            mediator affiliated with Judicial Arbitration & Mediation Services (“JAMS”), or such other
            mediator as the Parties may jointly designate.

                    E.      Submission to the Court.

                    If mediation fails to resolve the matter, either Party may submit the dispute for binding
            resolution by the Federal District Court for the Northern District of California under the Court’s
            continuing jurisdiction over this case. Plaintiffs may seek to recover reasonable fees and costs in
            connection with proceedings under this step according to the standard set forth in Christiansburg
            Garment Co. v. EEOC, 434 U.S. 412 (1978).

            VIII. RELEASE AND WAIVER

                    A.      Upon execution of this Agreement, Plaintiffs, for themselves and their heirs,
            executors, related persons, partnerships, corporations, or other entities and their predecessors,
            successors, successor owners, parents, subsidiaries, affiliates, assigns, transferees, agents,
            directors, officers, shareholders, insurers and attorneys (“Plaintiff Releasors”) hereby release and

            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 5 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




            forever discharge ADP TotalSource, and each of its related persons, partnerships, corporations,
            or other entities and their predecessors, successors, successor owners, parents, subsidiaries,
            affiliates, assigns, transferees, agents, directors, officers, employees, shareholders, insurers and
            attorneys (“Releasees”), from and against all actions, causes of action, claims, suits, debts,
            damages, judgments, liabilities, and demands whatsoever, whether matured or unmatured,
            whether at law or in equity, whether now known or unknown, that the Plaintiffs now have or
            may have had, or hereafter claim to have or have had, against Releasees at any time before and
            including the Effective Date, specifically arising out of or relating to the factual allegations set
            out in the Complaint, and the Accessibility of the Website and Mobile Apps (“Released
            Claims”).

                    B.     The provisions of any state, federal, local, or territorial law or statute providing
            expressly or in substance that releases shall not extend to claims, injuries, or damages which are
            unknown or unsuspected to exist at the time are expressly waived by Plaintiff Releasors. This
            Section constitutes a waiver of, without limitation as to any other applicable law, Section 1542 of
            the California Civil Code, which provides as follows:

                        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
                        CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
                        HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND
                        THAT, IF KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                        AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR
                        RELEASED PARTY.

                    Plaintiff Releasors are deemed to understand and acknowledge the significance of this
            waiver of California Civil Code Section 1542 and/or of any other applicable law relating to
            limitations on releases.

            IX.     COVENANT NOT TO SUE

                    A.      Plaintiffs covenant and agree not to file any suit, charge, or action against
            Releasees alleging violations of federal or state law, including but not limited to the Claims,
            violations of the Americans with Disabilities Act, and state disability discrimination laws
            relating to the Accessibility of the ADP TotalSource Website or Mobile Apps for the Term of the
            Agreement.

                     B.     During the Term of the Agreement, if Plaintiffs believe that an ADP TotalSource
            product or service that is not covered by this Agreement is not Accessible, Plaintiffs shall notify
            ADP TotalSource in writing describing the alleged failure. ADP TotalSource shall respond to the
            Notice in writing within thirty (30) days of its receipt and shall describe the steps that ADP
            TotalSource will take, if any, or request a reasonable extension of time within which to provide
            such a description. Only if and after ADP TotalSource fails to respond to Plaintiffs’ Notice
            within thirty days of receipt, or Plaintiffs are dissatisfied with ADP TotalSource’s description
            and the Parties have met and conferred to discuss the matter, Plaintiffs may file an action, claim,
            or suit, or request Structured Negotiations seeking any remedies available to Plaintiffs under
            applicable law. ADP TotalSource may oppose that action, claim or suit, or reject the invitation

            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 6 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




            for Structured Negotiations. Plaintiffs agree that they will not file suit until this Notice has been
            provided and ADP TotalSource has had the time to respond specified in this Section.

                    C.       During the Term of the Agreement, LightHouse will not encourage, aid, or assist
            any of its employees in filing an action, charge or suit against ADP on the basis of the
            Accessibility of its Website or Mobile Applications. Plaintiffs and their counsel each represent
            and warrant that none of them is aware of any LightHouse employee, any other potential
            plaintiff, or any attorney who intends to make demands or bring litigation based on the Claims,
            underlying facts, or subject matter of the Agreement.

                    D.       After the Term of the Agreement, if Plaintiffs believe that ADP TotalSource has
            failed to make the Accessibility Improvements required by Section IV of the Agreement,
            Plaintiffs shall notify ADP TotalSource in writing describing the alleged failure. Such Notice
            shall be deemed to include a demand to immediately cure the alleged failure. ADP TotalSource
            shall respond to the Notice in writing within thirty (30) days of its receipt and shall describe the
            steps that ADP TotalSource will take, if any, to cure the failure, or request a reasonable
            extension of time within which to provide such a description. Only if and after ADP
            TotalSource fails to respond to Plaintiffs’ Notice within thirty days of receipt, or Plaintiffs are
            dissatisfied with ADP TotalSource’s description and the Parties have met and conferred to
            discuss the matter, Plaintiffs may file an action, claim, or suit, or request Structured Negotiations
            seeking any remedies available to Plaintiffs under applicable law. ADP TotalSource may oppose
            that action, claim or suit, or reject the invitation for Structured Negotiations. Plaintiffs agree that
            they will not file suit until this Notice has been provided and ADP TotalSource has had the time
            to respond specified in this Section.

            X.      OTHER TERMS

                    A.      Term of the Agreement.

                    This Settlement Agreement shall commence on the Effective Date and continue in force
            until three (3) years after the Effective Date.

                    B.      Entire Agreement; Amendment.

                    The Agreement and Confidential Addendum constitute the entire agreement of the Parties
            relating to the subject matters addressed in it and the Confidential Addendum. Any amendment
            must be in writing and signed by all Parties.

                    C.      Execution.

                   Each Party and Plaintiffs’ Counsel shall sign one copy of this document and each such
            copy shall be considered an original. This document may be executed in counterparts and
            facsimile and electronic signatures shall be accepted as original.




            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 7 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




                    D.      Construction.

                    Each Party has reviewed and participated in the drafting of this Agreement; and any rule
            of construction to the effect that ambiguities are construed against the drafting Party shall not
            apply in the interpretation or construction of this Agreement. Section titles and headings are
            intended for reference purposes only and are not to be construed as part of the Agreement.

                    E.      Binding on Successors.

                   This Agreement shall bind any assigns and successors of the Parties, who have the right
            to implement the actions required. This Agreement is for the benefit of the Parties only and no
            other person or entity shall be entitled to rely on it, receive any benefit from it, or enforce against
            any Party any provision of it. The Parties specifically intend that there be no third party
            beneficiaries to this Agreement.

                    F.      Force Majeure.

                    The performance of ADP TotalSource under this Agreement shall be excused during the
            period and to the extent that such performance is rendered impossible, impracticable or unduly
            burdensome due to acts of God, strikes or lockouts, unavailability of parts, equipment or
            materials through normal supply sources, security threat, or any other event of force majeure. If
            ADP TotalSource seeks to invoke this Section, it shall notify Plaintiffs in writing as soon as
            reasonably practicable, specifying the particular action(s) that could not be performed and the
            specific reason for non-performance. Plaintiffs’ Counsel and ADP TotalSource will thereafter
            meet and confer regarding an alternative schedule for completion of the action that could not be
            performed, or an alternative action. Any dispute regarding the applicability of this Section, or
            any future action to be taken, that remains after the meet and confer session will be handled as a
            dispute pursuant to Section VII of this Agreement.

                    G.      Waiver; Severability.

                     No waiver of any breach of any provision of this Agreement shall constitute a waiver of
            any prior, concurrent or subsequent breach of such provision or any other provisions and no
            waiver shall be effective unless made in writing. The paragraphs and provisions of this
            Agreement are severable. In the event that any provision of this Agreement shall be determined
            to be illegal or otherwise unenforceable, such provision shall be severed and the balance of the
            Agreement shall continue in full force and effect.

                    H.      Modification Based on Change of Law or Regulations.

                    If, after the Effective Date, either Party believes that there is a change in any applicable
            law or regulation which requires a modification of this Agreement because it imposes an
            obligation that is contradictory to the obligations provided in this Agreement, the Party shall
            notify the other Party in writing. The notification will include the way in which the Party
            contends the Agreement should be modified as a result of the change in law or regulation. The
            proposed modification will become effective thirty (30) days after such notification unless the
            other Party objects in writing to the proposed modification. In the event of a disagreement

            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 8 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




            between the Parties over the appropriate modifications to the Agreement as contemplated by this
            Section, the Parties shall meet and confer and shall work together in good faith to resolve the
            disagreement. Failure to reach agreement during such meet and confer shall be considered a
            dispute to be resolved pursuant to Section VII.

                    I.      No Other Representations.

                   Each Party warrants that it/they is/are acting upon its or their independent judgment and
            upon the advice of its/their own counsel and not in reliance upon any warranty or representation,
            express or implied, of any nature or kind by the other Party, other than the warranties and
            representations expressly made in the Agreement.

                    J.      No Admission of Liability; Effect of Settlement.

                     Neither this Agreement nor any act performed or document provided or executed
            pursuant to or in furtherance of the Agreement: (a) is or may be deemed to be or may be used as
            an admission of, or evidence of, the validity of any Released Claims or of any wrongdoing or
            liability of ADP TotalSource; or (b) is or may be deemed to be or may be used as an admission
            of, or evidence of, any fault or omission of ADP TotalSource in any civil, criminal or
            administrative proceeding in any court, administrative agency or other tribunal, except as
            necessary in a proceeding under Section VII of the Agreement. ADP TotalSource may file the
            Agreement in any action that may be brought against it to attempt to support any defense or
            counterclaim.

                    K.      Publicity Regarding This Agreement and Its Terms.

                    The Parties will work together to draft and issue, on or about November 1, 2021, and
            only after formal approval by both Parties, a joint press release announcing this Agreement.
            Public statements relating to the announcement shall be consistent with the joint press release,
            and with respect to any such statements LightHouse will use reasonable efforts to provide ADP
            with reasonable advance notice. Neither Party will proactively reach out to any press sources to
            make any separate statements.

                    Plaintiffs Welte and Lauridsen agree not to make any disparaging comments about ADP
            with respect to the subject matter of the Agreement in public statements. LightHouse agrees not
            to make any authorized disparaging comments to the public about ADP with respect to the
            subject matter of the Agreement. Comments regarding non-compliance with this Agreement that
            are made in good faith shall not be considered disparagement; however, Plaintiffs agree to make
            no such comments publicly without first informing ADP and providing ADP with an opportunity
            to respond. ADP will not make any authorized disparaging comments to the public about
            LightHouse with respect to the subject matter of the Agreement.

                    L.      Notice or Communication to Parties.

                    Any notice or communication required or permitted to be given to the Parties shall be
            given in writing by e-mail, addressed as follows:


            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 9 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




            To:     Plaintiffs:

                    Meredith J. Weaver
                    Staff Attorney, Disability Rights Advocates
                    2001 Center St., 4th Flr., Berkeley, CA 94704
                    (510) 426-6834 (Tel)
                    (510) 665-8511 (Fax)
                    mweaver@dralegal.org

            To: ADP TotalSource:

                    Kristina Launey
                    Seyfarth Shaw LLP
                    400 Capitol Mall, Suite 2350
                    Sacramento, CA 95814
                    klauney@seyfarth.com

                    Kevin Skelly
                    Senior Counsel, ADP
                    kevin.skelly@adp.com


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            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 10 of 11
DocuSign Envelope ID: E70F1AAD-D67E-42F4-AFC1-5D23AD849CFD




                                     [Signature Page (1 of 1) for Settlement Agreement]



                                                             LIGHTHOUSE FOR THE BLIND AND
                                                             VISUALLY IMPAIRED OF SAN
                                                             FRANCISCO

            Date:        October 21, 2021

                                                             By: Bryan   Bashin


                         October 22, 2021
            Date:
                                                             ERIN LAURIDSEN

            Date:        October 21, 2021

                                                             FRANK WELTE


                                                             ADP TOTALSOURCE, INC.

            Date:
                                                             By:




            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 11 of 11
DocuSign Envelope ID: D5D2F7B3-02CA-421A-A09A-4908B5D4DC64




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                                                             LIGHTHOUSE FOR THE BLIND AND
                                                             VISUALLY IMPAIRED OF SAN
                                                             FRANCISCO

            Date:
                                                             By:

            Date:
                                                             ERIN LAURIDSEN

            Date:
                                                             FRANK WELTE


                                                             ADP TOTALSOURCE, INC.

            Date:   21 October 2021 | 9:04 PM CEST
                                                             By:   Barry Eisler




            ADP TotalSource / LightHouse
            Settlement Agreement
            Page 11 of 11
